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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

J.E.C.M., et al,
Plaintiffs /Petitioners,

v.

Case No. 1:18-cv-903 (LMB/IDD)

CINDY HUANG, Director,

Office of Refugee Resettlement, e a/,
Defendants/Respondents.

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ORDER
Upon consideration of the federal defendants’ Consent Motion for an Enlargement of Time,
and for good cause shown, it is hereby
ORDERED that the federal defendants’ consent motion is GRANTED; and it is hereby
further
ORDERED that, on or before May 19, 2022, the federal defendants shall file their

supplemental memorandum concerning the recent decision in Lucas R. v. Becerra, No. 2:18cv5471

 

 

(C.D. Cal.).
Date: | IQ. AvAs
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Leonie M. Brinkenfa
United States District Judge
